Case 1:23-cv-03721-SCJ Document 1-172 Filed 08/21/23 Page 1 of 2




                EXHIBIT B-160
       Case 1:23-cv-03721-SCJ Document 1-172 Filed 08/21/23 Page 2 of 2
                                                                              FILED IN OFFICE

                   IN THE SUPERIOR COURT OF FULTON COUNTY                         M~2314
                              STATE OF GEORGIA                               DEPUTY CLERK SUPERIOR COURT
                                                                                  FULTONCOUNTY,GA



IN RE 2 MAY 2022 SPECIAL PURPOSE                       2022-EX-000024
GRANDJURY



                        ORDER ON ADDITIONAL BRIEFING

       On 20 March 2023, former President Trump filed a motion to quash the Special

Purpose Grand Jury's Final Report and to recuse the Fulton County District Attorney's

Office from further investigation into/prosecution of alleged interference with the 2020

general election in Georgia. On 28 April 2023, Cathleen Latham, one of the "alternate"

electors advanced by Georgia's Republican Party in the aftermath of the 2020 general

election, filed a motion joining former President Trump's motion. On 15 May 2023, the

District Attorney responded to the two motions and certain media intervenors did the

same. On 16 May 2023, former President Trump lodged a "request" to file a reply to the

District Attorney and the media intervenors' responses.

       To date, the Court has received well over.five hundred pages of briefing, argument,

and exhibits on the issues raised by former President Trump and Ms. Latham. That is

plenty. There will be no more briefing unless it is solicited, in writing, by the Court.

       SO ORDERED this 19th day of May 2023.




                                                  Judge      e    .I. McBurney
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit
